

Joseph v Saint Joseph's Med. Ctr. (2023 NY Slip Op 01259)





Joseph v Saint Joseph's Med. Ctr.


2023 NY Slip Op 01259


Decided on March 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2023

Before: Kapnick, J.P., Kern, Gesmer, Singh, Moulton, JJ. 


Index No. 24836/13E Appeal No. 17515 Case No. 2022-00840 

[*1]Edith Joseph, as Administratrix of the Estate of Michael Green, Plaintiff-Appellant,
vSaint Joseph's Medical Center, et al., Defendants-Respondents.


C. Robinson &amp; Associates &amp; Associates, LLC, New York (W. Charles Robinson of counsel), for appellant.



Order, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered November 30, 2021, which denied plaintiff's motion to vacate an order, same court (Robert T. Johnson, J.), dated April 6, 2018, staying this action, unanimously reversed, on the law, without costs, and the motion granted.
The motion court improvidently exercised its discretion in denying plaintiff's unopposed motion to vacate an order staying this action, based on an order of a Montana court enjoining all litigation against the Kingsbridge defendants' insolvent risk retention group, CareConcepts Insurance, Inc. This action involves the same Montana order and includes the same Kingsbridge defendants as in Givens v Kingsbridge Hgts. Care Ctr., Inc. (171 AD3d 569 [1st Dept 2019]), in which this Court lifted the stay imposed in that action. For the reasons explained in Givens, the stay in this action must also be lifted. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 14, 2023








